        Case:3:18-cv-04978-JD
        Case  22-15916, 11/30/2022, ID: 12599100,
                                Document          DktEntry:
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                                                     11/30/22




                    UNITED STATES COURT OF APPEALS                        FILED
                           FOR THE NINTH CIRCUIT                          NOV 30 2022
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
DZ RESERVE; CAIN MAXWELL, DBA                   No.    22-15916
Max Martialis,
                                                D.C. No. 3:18-cv-04978-JD
                Plaintiffs-Appellees,           Northern District of California,
                                                San Francisco
 v.
                                                ORDER
META PLATFORMS, INC., FKA
Facebook, Inc.,

                Defendant-Appellant.

Before: Lisa B. Fitzgerald, Appellate Commissioner.

      Appellant’s unopposed motion to file under seal Volumes 3 through 5 of the

excerpts of record (Docket Entry No. 12) is granted. Appellant also filed a notice

of intent to file publicly portions of Volume 3 of the excerpts of record (Docket

Entry No. 13), see 9th Cir. R. 27-13(f), and appellees filed a notice of non-

opposition at Docket Entry No. 19.

      The Clerk will file publicly the opening brief (Docket Entry No. 10),

Volumes 1 and 2 of the excerpts of record (Docket Entry No. 11), the motion to

seal (Docket Entry No. 12-1), and the notice of unsealing (Docket Entry No. 13-1).

The Clerk will file under seal Volumes 3 through 5 of the excerpts of record

(Docket Entry Nos. 12-2, 12-3, 12-4).

      Within 21 days of this order, appellant must submit for public filing redacted

MKS/MOATT
           Case:3:18-cv-04978-JD
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versions of Volumes 3 through 5 that track the proposed redactions highlighted in

Docket Entry Nos. 12-2 through 12-4. The page numbering in the public volumes

must remain the same as in the sealed volumes.

         Appellees’ unopposed motion (Docket Entry No. 14) for an extension of

time to file the answering brief is granted. The answering brief is due January 13,

2023. The optional reply brief is due within 21 days after service of the answering

brief.




MKS/MOATT                                  2                                     22-15916
